        Case 1:19-cr-03113-JB Document 288 Filed 11/05/20 Page 1 of 3

                                                                                    FILF.F
                    IN THE ITNITED     srArns DISTRICT CouRr                  ffi$il')ti":;]"
                       FORTHE DISTRICT OF NEW MEXICO                               it()v   - r zoz0
UNITED STATES OF AMERICA,                                                     ilITcHELL n. E:-:-,:te
                                                                                      CLEIJI(
                Plaintiff,                           CRIMINAL NO. I9-CR-3I I 3.JB

         vs.

ROBERT PADILLA, a.ka. "Fat Head,"
ROSE ANN ROMERO,
JOHNA|IHAN VIGIL, a.k a. "Lil John,"
ROBERT HOCKMAN, a.ka. "Tony,"
MARCOS RUIZ, a.ka. "Mark"
LUIS SAI\ICHEZ, t.k,a. "Payago,"
ASHLEYROMERO,
TOMAS SANCHEZ, a.ka. "T.J.,"
AMANDASILVA,
SERGIOVALDE,Z,
GENEVIYE ATENCIO, and
JANAYA ATENCIO,

Defendants.




        The parties' request that the Court impose the following deadlines:

t0/30t2020         Completion of Rule 16 discovery by govemment (except for the govemment's
                   continuing duty to disclose).

ty06t2020          Reciprocal Rule l6 discovery by defendants (except for the defendants'
                   continuing duty to disclose); Fed. R. Crim. P. 16 discovery motions (except for
                   discovery motions related to any Title III interception).

11120/2020         Responses to Fed. R. Crim. P. 16 discovery motions.

tzl4/2020          Replies to responses to Fed. R. Crim. P. 16 discovery motions. Title    III
                   Discovery Motions.
t2lt0-tt/2020      Hearing on Discovery Motions, if needed.
8:30a
tzlt8/2020         Notices of defenses pursuant to Fed. R. Crim, P. l2,l-12.3. Responses to Title
                   III Discovery Motions.
       Case 1:19-cr-03113-JB Document 288 Filed 11/05/20 Page 2 of 3



 t2/30/2020             Fed. R. Crim. P. 12 pretrial motions; Rule 14 motions to sever; Responses to
                        notices of defenses; Motion for Jqmes and Co-conspirator statement
                        disclosure.l Replies to Title III Discovery Motions.
 U14t2021               Responses to Fed. R. Crim. P. 12 pretrial; Responses to Rule 14 motions to
                        sever; Responsestn James and co-conspirator statement disclosures, subject to
                        the lO-day ioinder agreement.
 u28t2021               Replies to responses to Rule 12 pretrial motions, to Rule 14 motions to sever,
                        andto James and co-conspirator statement disclosures.
 2/4-5/202t             Hearing on Pretrial Motions and Title II Discovery Motions, if needed

 2/12/2021              Govemment's expert witness notices and reports.

 3112/2021              Defense expert witness notices and reports, subject to the 10-day joinder
                        agreement.
 4/212021               Objections to expert witness notices and Daubert Motions, subject to the        l0-
                        day ioinder agreement.
 4n6t2021               Replies to exped witness objections and Responsesto Daubert Motions

 4/3012021              Replies to Daubert moliorrs.

 5/6-7t2021             Hearing on Daubert motions, if needed.

 512812021              Motions   it   Limine, Fed. R. Evid 404(b), subject to the 1 0-day joinder
                        agreement.
 6/tt/2021              Responses to motions in limine     & 404(b).

 6125t2021              Replies to motions in limine & 4040),

 7t2t2021               Hearing on motions inlimine & 404(b), if any.

 7130/2021              Disclosure of exhibit and witness lists; Jencks Act disclosures.

 812/202t               Exhibit and witness binders delivered to the Court.

 8lt0/202t              Objections to exhibit and witness lists.

 9/10/2021              Jury Instructions; proposed voir dire; and stipulations.
                                   -ra


        I The parties
                          krffi,,t{D
                         gree that all defendants should have I 0 days from the date of fi ling of a
motion by any defen      rnt to decide whether to join in that motion. If a defendant decides to join
in another defendant      motion, the Jommg defendant should file a notice of joinder
                                                                                 ioinder within l0
days of the filing of the motion to be joined, including in the notice ofjoinder any factual or legal
argument that is specific to the joining defendant and speciffing the relief sought by the joining
defendant. The government should be allowed to file one omnibus response to motions that have
been joined by other defendants. The govemment=s time for responding should begin to run on
the tenth day after the originat motion is filed.
          Case 1:19-cr-03113-JB Document 288 Filed 11/05/20 Page 3 of 3



     912412021          Objections tojury instructions and proposed voir dire.
a


     t0l5/202t          Pre-Trial Conference

     8:30a

     t0lt8/202r         Jury Selectior/Trial at 9:00 a.m., Federal Courthouse, Albuquerque, New
                        Mexico.


             The court further orders that the United States shall continually make available

    discovery on an ongoing basis and make available to the defendants by the time required

    by the applicable law all material for which disclosure is mandated by Giglio v. United

    States, 405 U.S.    l0 (1972) and the Jencks Act,      18 U.S.C.   $ 3500, unless disclosure is

    otherwise required herein.

             The court further orders, pursuant to 18 U.S.C. $ 3l6l(hx7xB)(ii), that the time

    between the entry   ofthis Order   and the trial date is excluded for the purposes   ofthe Speedy

    Trial Act computation.




                                                              O. BRO




    After weighing the best interests of the public and of the Defendants
    with the ends of justice, the Court finds that granting a continuance will
    strike a proper balance between the ends of justice and the best
    interests of the public and of the Defendants for the reasons stated in
    the motion requesting a contanuance, filed October 30, 2020 (Doc.
    284). Specifically, the Defendants' need to review discovery, conduct
    investigations, discuss the filing of any pre-trial motions, and to discuss
    possible plea negotiations with counsel, outweighs the Defendant's and
    the public's interest in a speedptrial. See I8 U.S.C. Section 3l6l(hX7).
    The Couft will set the trial for (J&Lr-!-B*19-?-l----. The pretrial
    motion deadline is -8-.-.-::!:!-r-L7!29---. This tlg-day continuance is
    sufficient, without being greater than necessary, for the Defendant to
    complete the tasks set forth in the motion to continue.
